         Case 3:22-cr-02913-AGS                    Document 295
AO 2458 (CASO Rev. 1/19) Judgment in a Criminal Case
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                                            UNITED STATES DISTRICT COURT                                             CLERK. U.S. DISTRICT COURT
                                                                                                                  SOUTHERN DISTRIC OF CALIFORNIA
                                                SOUTHERN DISTRICT OF CALIFORNIA                                  BY                          DEPUTY
                   UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                                       V.                                  (For Offenses Committed On or After November 1, 1987)
                Ramiro Javier FLORES MANZANO (2)
                                                                               Case Number:         3 :22-CR-02913-AGS

                                                                            Sandra Resnick, CJA
                                                                            Defendant's Attorney
USM Number                             96372-510
□        -
THE DEFENDANT:
12?:1    pleaded guilty to count(s)          ONE, TWO, THREE AND FOUR OF THE INDICTMENT

D        was found guilty on count(s)
         after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):


Title and Section / Nature of Offense                                                                                          Count
2 1 USC 959, 960, 963 - INTERNATIONAL CONSPIRACY TO DISTRIBUTE COCAINE                                                             1
21 USC 952,960,963 -CONSPIRACY TO IMPORT COCAINE                                                                                   2
2 I USC 841 (a)(]), 846 - CONSPIRACY TO DISTRIBUTE COCAINE                                                                         3
18 USC 1956(h) -CONSPIRACY TO LAUNDER MONETARY INSTRUMENTS                                                                         4


    The defendant is sentenced as provided in pages 2 through                          S           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 D       The defendant has been found not guilty on count(s)

 D Count(s)                                                           is           dismissed on the motion of the United States.

 12?]        Assessment : $400.00 - IMPOSED


 □           JVTA Assessment*:$

             *Justice for Victims of Trafficking Act of 2015, Pub. L. No. I 14-22.
 12?:1       No fine                   □    Forfeiture pursuant to order filed                                          , included herein.
        IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
 judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
 any material change in the defendant's economic circumstances.

                                                                            FebruatY 18. 2025
                                                                            ~ ofS,ntence


                                                                             HON. A           EW G. SCHOPLER
                                                                            United States District Judge
                                                                                                                       -
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DEFENDANT:                  Ramiro Javier FLORES MANZANO (2)                                       Judgment - Page 2 of 5
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                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 57 MONTHS (PER COUNT, TO RUN CONCURRENTLY)

 FOREIGN CUSTODY: DEFENDANT TO RECEIVE CREDIT FOR 255 DAYS IN FOREIGN CUSTODY.
 (ON 5/15/2023, DEFENDANT WAS ARRESTED IN COLOMBIA ON A PROVISIONAL ARREST WARRANT AT
 THE REQUEST OF U.S. AUTHORITIES. DEFENDANT REMAINED IN CUSTODY IN COLOMBIA UNTIL HIS
 EXTRADITION TO THE UNITED STATES ON 1/25/2024.)


 □       Sentence imposed pursuant to Title 8 USC Section 1326(b).
 lZI     The court makes the following recommendations to the Bureau of Prisons:
            - PLACEMENT IN AF ACILITY AS CLOSE AS POSSIBLE TO HOUSTON, TEXAS, TO
                FACILITATE FAMILY VISITS
            - DEFENDANT TO RECEIVE EDUCATIONAL/VOCATIONAL TRAINING


 □       The defendant is remanded to the custody of the United States Marshal.

 □       The defendant must surrender to the United States Marshal for this district:
         □    at
                   --------- A.M.                              on
                                                                    ------------------
         □    as notified by the United States Marshal.

         The defendant must surrender for service of sentence at the institution designated by the Bureau of
 □
         Prisons:
         □    on or before
         □    as notified by the United States Marshal.
         □    as notified by the Probation or Pretrial Services Office.

                                                        RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                           to
                                                                               ---------------
 at
       - - - - - - - -- - - - , with a ce11ified copy of this judgment.

                                                                    UNITED STATES MARSHAL



                                      By                    DEPUTY UNITED STA TES MARSHAL


                                                                                                   3:22-CR-0291 3-AG S
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                                                  SUPERVISED RELEASE
Upon release from imprisonment, the defendant will be on supervised release for a term of:
5 YEARS AS TO COUNTS 1 THROUGH 3 (TO RUN CONCURRENTLY)
3 YEARS AS TO COUNT 4 (TO RUN CONCURRENTLY)
                                              MANDATORY CONDITIONS
1. The defendant must not commit another federal, state or local crime.
2. The defendant must not unlawfully possess a controlled substance.
3. The defendant must not illegally possess a controlled substance. The defendant must refrain from any unlawful use of a
   controlled substance. The defendant must submit to one drug test within 15 days of release from imprisonment and at least
   two periodic drug tests thereafter as determined by the comt. Testing requirements will not exceed submission of more
   than 4 drug tests per month during the te1m of supervision, unless otherwise ordered by the comt.
        □ The above drug testing condition is suspended, based on the comt's determination that the defendant poses a low
           risk of future substance abuse. (check if applicable)
4. □The defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
   a sentence of restitution. (check if applicable)
5. [g]The defendant must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    □ The defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
      20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
      the location where the defendant resides, works, is a student, or was convicted of a qualifying offense. ( check if
      applicable)
7.    □ The defendant must participate in an approved program for domestic violence. (check if applicable)

The defendant must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.




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                                     STANDARD CONDITIONS OF SUPERVISION
As pai1 of the defendant's supervised release, the defendant must comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for the defendant' s behavior
while on supervision and identify the minimum tools needed by probation officers to keep informed, report to the
court about, and bring about improvements in the defendant's conduct and condition.

I. The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72
   hours of their release from imprisonment, unless the probation officer instructs the defendant to report to a different probation
   office or within a different time frame.

2. After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
   about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer
   as instructed.

3. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
   getting permission from the court or the probation officer.

4. The defendant must answer truthfully the questions asked by their probation officer.

5. The defendant must live at a place approved by the probation officer. If the defendant plans to change where they live or
   anything about their living arrangements (such as the people living with the defendant), the defendant must notify the
   probation officer at least IO days before the change. If notifying the probation officer in advance is not possible due to
   unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware ofa change or
   expected change.

6. The defendant must allow the probation officer to visit them at any time at their home or elsewhere, and the defendant must
   permit the probation officer to take any items prohibited by the conditions of their supervision that he or she observes in plain
   view.

7. The defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
   excuses the defendant from doing so. If the defendant does not have full-time employment the defendant must try to find full-
   time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
   defendant works or anything about their work (such as their position or their job responsibilities), the defendant must notify the
   probation officer at least 10 days before the change. If notifying the probation officer at least JO days in advance is not possible
   due to unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a
   change or expected change.

8. The defendant must not communicate or interact with someone they know is engaged in criminal activity. If the defendant
   knows someone has been convicted of a felony, they must not knowingly communicate or interact with that person without
   first getting the permission of the probation officer.

9. If the defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72 hours.

I 0. The defendant must not own, possess, or have access to a fireann, ammunition, destructive device, or dangerous weapon (i.e.,
     anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such
     as nunchakus or tasers).

11. The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12. If the probation officer detennines the defendant poses a risk to another person (including an organization), the probation
    officer may require the defendant to notify the person about the risk and the defendant must comply with that instruction.
    The probation officer may contact the person and confinn that the defendant notified the person about the risk.

 13. The defendant must follow the instructions of the probation officer related to the conditions of supervision.



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                                 SPECIAL CONDITIONS OF SUPERVISION

     1. If deported, excluded, or allowed to voluntarily return to country of origin, the defendant must not reenter
        the United States illegally. Supervision is waived upon deportation, exclusion, or voluntary departure.


     2. Within 24 hours of any reentry into the United States, the defendant must report to the probation officer.



II




                                                                                                3 :22-CR-02913-AGS
